     Case 2:22-cv-01127-CAS-GJS            Document 272         Filed 06/20/25           Page 1 of 1 Page ID
                                                 #:6748
  WHEN RECORDED MAIL TO:
  Alexander C.K. Wyman
  LATHAM & WATKINS LLP
  355 South Grand Avenue, Suite 100
  Los Angeles, California 90071 -1560




                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                                 CASE NUMBER:
ACTCA, A MEMBER OF THE ALLIANCE, INC.

                                     PLAINTIFF(S),         CV 22-01127-CAS-GJS
                           v.

RHYTHM PHARMACEUTICALS, INC. and DOES                           ABSTRACT OF JUDGMENT/ORD ER
1-10
                                  DEFENDANT(S).


I certify that in the above-entitled action and Court, Judgment/Order was entered on October 29, 2024
in favor of Rhythm Pharmaceuticals, Inc.
whose address is 222 Berkeley Street, 12th Floor, Boston, MA 02116
and against SFCT, a Member of the Alliance Inc.
whose last known address is 5800 Wilshire Blvd., Los Angeles, CA 90036-4501
for$ 707,042.16                  Principal, $19,309.81            Interest, $ 0                       Costs,
and $ 0                          Attorney Fees.

ATTESTED this         ZO 1"\.          day of     ~u v-e.__        , 20 2, S:-
Judgment debtor's driver's license no. and state;                                (last 4 digits) [Z] Unknown.
Judgment debtor's Social Security number;                                        (last 4 digits) [Z] Unknown.
[Z] No stay of enforcement ordered by Court
D Stay of enforcement ordered by Court, stay date ends
                                                           ------------------
Judgment debtor's attorney's name and address and/or
address at which summons was served:

Peter Sunukjian of Briggs & Alexander, APLC                   CLERK, U.S. DISTRICT COURT

4300 Campus Drive, Suite 210
Newport Beach, CA 92660
                                                      By          ~ ~
                                                                 / b eifilyc
                                                                            JASON JIANG                         1264

NOTE: JUDGMENTS REGISTERED UNDER28 U.S.C. §1963 BEAR THE RATE OF INTEREST OF THE DISTRICT OF ORIGIN
AND CAI.CUIATED AS OF THE DATE OF ENTRY IN THAT DISTRICT.

G-18 (03/12)                              ABSTRACT OF JUDGMENT/ORDER
